   Case 3:21-cv-01378-N Document 21 Filed 12/17/21                Page 1 of 5 PageID 632



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                      )
In re:                                )
                                      )                        Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P.,    )
                                      )                        Case No. 19-34054 (SGJ)
            Reorganized Debtor.       )
                                      )
                                      )
                                      )
HIGHLAND CAPITAL MANAGEMENT, L.P.,    )
                                      )
                 Plaintiff,           )
                                      )                        Adv. Proc No: 21-03006 (SGJ)
vs.                                   )
                                      )                        Case No: 3:21-cv-01378-N
HIGHLAND CAPITAL MANAGEMENT SERVICES, )
INC.                                  )
                                      )
                 Defendant,           )
                                      )

                                CERTIFICATE OF SERVICE

      I, Elliser Silla, depose and say that I am employed by Kurtzman Carson Consultants LLC
(“KCC”), the claims and noticing agent for the Reorganized Debtor in the bankruptcy case of
Highland Capital Management, L.P., Case No. 19-34054-sgj11 (Bankr. N.D. Tex).

        On December 13, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

   •   Notice of First Motion to Consolidate Notes Actions [Docket No. 20]

Dated: December 16, 2021
                                                 /s/ Elliser Silla
                                                 Elliser Silla
                                                 KCC
                                                 222 N Pacific Coast Highway, Suite 300
                                                 El Segundo, CA 90245
Case 3:21-cv-01378-N Document 21 Filed 12/17/21   Page 2 of 5 PageID 633


                          EXHIBIT A
                                                    Exhibit A
               Case 3:21-cv-01378-N DocumentCivil21Action
                                                        Filed
                                                          Service12/17/21
                                                                 List                                       Page 3 of 5 PageID 634
                                                                     Served via Electronic Mail



                 Description                             CreditorName                        CreditorNoticeName                                Email
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and Get Good Trust                            Heller, Draper & Horn, L.L.C.          Greta M. Brouphy                        gbrouphy@hellerdraper.com
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Dondero, Highland Capital Management
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     Highland Capital Management, L.P.
     Case No. 19-34054                                                        Page 1 of 1
Case 3:21-cv-01378-N Document 21 Filed 12/17/21   Page 4 of 5 PageID 635


                          EXHIBIT B
                                                                               Exhibit B
                                          Case 3:21-cv-01378-N DocumentCivil21Action
                                                                                   Filed
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                                                                                            List                                     Page 5 of 5 PageID 636
                                                                                              Served via First Class Mail



               Description                              CreditorName                      CreditorNoticeName                     Address1            Address2       Address3       City     State      Zip
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                                             Bonds Ellis Eppich Schafer Jones    Bryan C. Assink, Clay M. Taylor,        420 Throckmorton Street,
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and Get Good Trust                           Heller, Draper & Horn, L.L.C.       Greta M. Brouphy                        2500                                                  New Orleans LA       70130
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                                                                                                                        Chambers of Judge Stacey
Bankruptcy Judge                             US Bankruptcy Court                 Hon. Stacey G Jernigan                 G C Jernigan             1100 Commerce St   Room 1254 Dallas        TX      75242-1496
                                                                                 Brant C. Martin, Jason M. Rudd,
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   Highland Capital Management, L.P.
   Case No. 19-34054                                                                                  Page 1 of 1
